      Case 1:22-cr-00015-APM           Document 47-1         Filed 02/13/22       Page 1 of 32




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
                                                                Criminal Case No.
             v.                                                 1:22-cr-00015-APM

KELLY MEGGS

                             ACCUSED
                                                                 Assigned to the Honorable Amit
Styled as USA v. STEWART RHODES, et al.                          Mehta, District Court Judge
incorporating cases against multiple Defendants



ACCUSED’S MEMORANDUM OF LAW IN SUPPORT OF KELLY MEGGS’ MOTION
  FOR DISCLOSURE OF MATTERS OCCURRING BEFORE THE GRAND JURY

      The Accused, Kelly Meggs, through counsel, pursuant to pretrial discovery under Rules

6(e)(3)(C) and 16(a)(1)(A) of the Federal Rules of Criminal Procedure, Rule 16 of the same, and

Brady v. Maryland, 373 U.S. 83 (1963) and progeny, moves this Court for entry of an Order

disclosing to the Accused the following information pertaining to the Grand Jury which returned

eight (8) different versions of Indictments against him as it relates to this case, and for his

grounds states as follows:


I.     INTRODUCTION

       The U.S. Attorney’s Office for the District of Columbia already produced the transcripts

of witness testimony of some – but apparently not all– of the witnesses before the Grand Jury.

Having disclosed some of this information, there remain important gaps.

       The Government’s disclosures included computer sub-folders for Grand Jury proceedings

for the following dates, with transcripts of the following witnesses.


                                                   1
     Case 1:22-cr-00015-APM           Document 47-1        Filed 02/13/22     Page 2 of 32




       January 27, 2021
       February 10, 2021
       February 19, 2021
       March 12, 2021
       March 17, 2021
       March 31, 2021
       May 26, 2021
       July 21, 2021
       August 4, 2021
       October 20, 2021
       December 1, 2021
       January 12, 2022

       The transcripts clearly cannot be all of the witnesses who testified, because the scope of

very extensive information and allegations presented in each of the original indictment and seven

superseding indictments is broader, more detailed, and beyond the scope of the testimony of the

witnesses whose transcripts have been provided.

       If the transcripts represent the only witnesses who testified before the Grand Jury on

those dates, then the indictments including the later superseding indictments based upon the

earlier witnesses, may be subject to dismissal by the Court. There would be allegations from the

Grand Jury that are not supported by testimony from the few witnesses whose testimony

transcripts have been produced. A lack of further witnesses would suggest that the Grand Jury

rubber stamped a draft indictment written for them. Any instructions, arguments, introductory

remarks, charge to the Grand Jury, etc., might also explain whether the Grand Jury issued

allegations and indicted for crimes beyond what the witnesses testified to.

       Furthermore, the Government has not produced – as Kelly Meggs, by counsel, requested

– additional information – as to the minutes, notes, argument from prosecutors, exhibits, etc.

       The identity of witnesses who testified before the Grand Jury and what they testified




                                                2
      Case 1:22-cr-00015-APM           Document 47-1        Filed 02/13/22         Page 3 of 32




about may lead to witnesses that Defendant Kelly Meggs will need to call at trial and information

needed to cross-examine and impeach the credibility of witnesses who previously testified

inaccurately, and/or in a misleading way, whether by distortions, evasions, improper inference or

omission.


II.    GOVERNING LAW

      As grounds for the foregoing, Accused states the following:

            A.   He now stands indicted by the Grand Jury in question (indeed 8 times

                 now).

            B.   The Indictment covers activities alleged to have occurred over a lengthy

                 period of time.

            C.   The Accused is entitled to due process of law which includes the right to a

                 proper Indictment properly obtained.

            D.   That without the above-requested information to which he is entitled, the

                 Accused will be unable to protect his constitutional right to due process,

                 equal protection of the law, and such other rights as obtained.


       A.        GOVERNING LAW: BRADY obligations

       Seeking grand jury material discoverable under BRADY is one of the few exceptions at a

defendant’s disposal to pierce the “indispensable secrecy of grand jury proceedings.” UNITED

STATES V. SITZMANN, 74 F.Supp.3d 128, 133 (D.D.C. 2014). “[S]uppression by the

prosecution of evidence favorable to an accused upon request violates due process where the

evidence is material to either guilt or punishment, irrespective of the good faith or bad faith of



                                                  3
      Case 1:22-cr-00015-APM           Document 47-1        Filed 02/13/22     Page 4 of 32




the prosecution.” Id. at 134 (quoting BRADY V. MARYLAND, 373 U.S. 83, 87 (1963)). And

courts in in this jurisdiction disfavor narrow readings by prosecutors as to their obligations under

BRADY. UNITED STATES V. SAFFARINIA, 424 F.Supp.3d 46, 57 (D.D.C.), supported by

UNITED STATES V. PAXSON, 861 F.2d 730, 737 (D.C. Cir. 1988).

       When the Defendant requests BRADY materials for all grand jury notes/minutes/etc.

               “The government cannot meet its Brady obligations by providing
               the defendant with access to 600,000 documents and then
               claiming that the defendant should have been able to find the
               exculpatory information in the haystack.”

SAFFARINIA, 424 F.Supp.3d at 85.

       If the court determines the suppressed evidence is material, that there is a reasonable

likelihood the evidence could have impacted the jury’s judgment, then a new trial is required.

SITZMANN, 74 F.Supp.3d at 134. However, the defendant must raise at least a colorable claim

that the material contains evidence “favorable to him and material to his claim of innocence.” Id.

       A successful BRADY claim to over-turn a conviction after trial requires that favorable

evidence to the accused for exculpatory or impeachment purposes was suppressed by the

government which prejudiced the accused. Id. Favorability to the accused requires exculpatory

or impeachment value. Id. Suppression by the government can be an intentional or inadvertent

failure to disclose the evidence. Id. at 137.

       Moreover, prejudice requires a “reasonable probability that had the evidence been

disclosed to the defense, the result of the proceeding would have been different.” Id. at 134

(citing STRICKLER V. GREENE, 527 U.S. 263, 280 (1999)).

       Under BRADY, evidence may still be material and favorable despite being inadmissible,




                                                 4
      Case 1:22-cr-00015-APM           Document 47-1         Filed 02/13/22      Page 5 of 32




provided it could lead to admissible evidence. SAFFARINIA, 424 F.Supp.3d at 91.

        The scope of the requirements of BRADY V. MARYLAND, 373 U.S. 83 (1963), is

very broad. See United States Justice Manual (USJMM) § 9-5.001. For instance, a “prosecutor

must disclose information that is inconsistent with any element of any crime charged” and --

                  “… must disclose information that either casts a substantial
                  doubt upon the accuracy of any evidence---including but not
                  limited to witness testimony—the prosecutor intends to rely
                  on to prove an element of any crime charged, or might have
                  a significant bearing on the admissibility of the evidence.
                  This information must be disclosed regardless of whether it
                  is likely to make the difference between convictions and
                  acquittal of the defendant for a charged crime.”

Id.

        The disclosure requirement, “applies to information regardless of whether the

information subject to disclosure would itself constitute admissible evidence.” Id.

        It is highly relevant that the Defendant is explicitly asking for specific information, not

passively hoping that the prosecution will notice and think to disclose information on its own

initiative.

               "The test of materiality in a case like Brady in which specific
               information has been requested by the defense is not necessarily the
               same as in a case in which no such request has been made...." 14

UNITED STATES V. AGURS, 427 U.S. 97, 106, 49 L.Ed.2d 342, 96 S.Ct. 2392 (1976)

               “ The heart of the holding in Brady is the prosecution's suppression of
               evidence, in the face of a defense production request, where the
               evidence is favorable to the accused and is material either to guilt or
               to punishment. Important, then, are (a) suppression by the prosecution
               after a request by the defense, (b) the evidence's favorable character
               for the defense, and (c) the materiality of the evidence. * * * “

MOORE V. ILLINOIS, 8212 5001, 408 U.S. 786,794-795, 92 S.Ct. 2562, 33 L.Ed.2d 706



                                                  5
      Case 1:22-cr-00015-APM           Document 47-1        Filed 02/13/22      Page 6 of 32




(1972)

               “If there is a duty to respond to a general request of that kind, it must
               derive from the obviously exculpatory character of certain evidence in
               the hands of the prosecutor. But if the evidence is so clearly
               supportive of a claim of innocence that it gives the prosecution notice
               of a duty to produce, that duty should equally arise even if no request
               is made. Whether we focus on the desirability of a precise definition
               of the prosecutor's duty or on the potential harm to the defendant, we
               conclude that there is no significant difference between cases in
               which there has been merely a general request for exculpatory matter
               and cases, like the one we must now decide, in which there has been
               no request at all. The third situation in which the Brady rule arguably
               applies, typified by this case, therefore embraces the case in which
               only a general request for "Brady material" has been made.”

UNITED STATES V. AGURS, 427 U.S. 97, 107, 49 L.Ed.2d 342, 96 S.Ct. 2392 (1976).

               “The proper standard of materiality must reflect our overriding
               concern with the justice of the finding of guilt.20 Such a finding is
               permissible only if supported by evidence establishing guilt beyond a
               reasonable doubt. It necessarily follows that if the omitted evidence
               creates a reasonable doubt that did not otherwise exist, constitutional
               error has been committed.”

Id. at 112. To extend this point, the U.S. Supreme Court is saying that the requirement that an

accused be presumed innocent until proven guilty beyond a reasonable doubt is a principle that

applies to all aspects of the case, including whether a failure to disclose potentially exculpatory

information violates the Due Process Clause.

               “Impeachment evidence, however, as well as exculpatory evidence,
               falls within the Brady rule. See Giglio v. United States, 405 U.S. 150,
               154, 92 S.Ct. 763, 766, 31 L.Ed.2d 104 (1972). Such evidence is
               "evidence favorable to an accused," Brady, 373 U.S., at 87, 83 S.Ct.,
               at 1196, so that, if disclosed and used effectively, it may make the
               difference between conviction and acquittal. Cf. Napue v. Illinois, 360
               U.S. 264, 269, 79 S.Ct. 1173 1177, 3 L.Ed.2d 1217 (1959) ("The
               jury's estimate of the truthfulness and reliability of a given witness
               may well be determinative of guilt or innocence, and it is upon such
               subtle factors as the possible interest of the witness in testifying



                                                  6
     Case 1:22-cr-00015-APM            Document 47-1        Filed 02/13/22      Page 7 of 32




                falsely that a defendant's life or liberty may depend").”

UNITED STATES V. BAGLEY, 473 U.S. 667, 87 L.Ed.2d 481, 105 S.Ct. 3375 (1985).


         B.     GOVERNING LAW: Release of Grand Jury Information

         The District of Columbia Circuit agrees with the Sixth Circuit that release of grand jury

material is governed by Rule 6 of the Federal Rules of Criminal Procedure. MCKEEVER V.

BARR, 920 F.3d 842, 850 (D.C. Cir. 2019).

         Once the grand jury’s functions have been completed, “disclosure is wholly proper where

the ends of justice require it.” DENNIS V. UNITED STATES, 384 U.S. 855, 870 (1966)

(quoting UNITED STATES V. SOCONY-VACUUM OIL CO., 310 U.S. 150, 234 (1940)).

         A prosecutor is not required to provide the grand jury with all evidence favorable to the

accused. MILES V. UNITED STATES, 483 A2.d 649, 655 (D.C. 1984).

         But where the prosecutor knows of “substantial evidence negating a defendant’s guilt

which might reasonably be expected to lead a grand jury not to indict, his failure to disclose such

evidence to a grand jury may lead to dismissal of the indictment.” Id.

         “Secrecy for secrecy’s sake should no longer be the rule.... Rather, the maintenance of the

wall of secrecy around grand jury testimony should be grounded on sound reason.”

PARPLIANO V. DISTRICT COURT, 176 Colo. 521, 527, 491 P.2d 965, 968 (1971). See

also, UNITED STATES V. MARION, 404 U.S. 307 (1972); IN RE PROCEEDINGS

BEFORE THE GRAND JURY SUMMONED October 12, 1970, 321 F.Supp. 238 (N.D. Ohio

1970).

         Fed. R. Crim. Pro. Rule 12(b)(3). “A criminal defendant may move to dismiss an




                                                  7
      Case 1:22-cr-00015-APM          Document 47-1        Filed 02/13/22      Page 8 of 32




indictment prior to trial based on ‘an error in the grand-jury proceeding,’ Fed. R. Crim. P.

12(b)(3)(A)(v), but the defendant seeking such relief ‘faces a very heavy burden,’ UNITED

STATES V. TRIE, 23 F. Supp. 2d 55, 61 (D.D.C. 1998).” SAFFARINIA, 424 F.Supp.3d at 80.

       Defendants can request disclosure of grand jury materials after showing there is grounds

for dismissing the indictment due to matters that occurred before the grand jury pursuant to Rule

6(e)(3)(E)(ii). UNITED STATES V. MECHANIK, 475, U.S. 66, 80 (1986) (Marshall, J.,

dissenting). However, defendants are commonly incapable of making the necessary showing

without the aid of the materials sought in discovery. Id. Any claim for abuse or defect of the

grand jury must be remedied prior to trial because the Court held that a guilty verdict insulates

such a claim from appellate review by finding the error harmless. Id. at 73.

       And refusing to “reverse convictions for demonstrated grand jury misconduct” relegates

the law to “pretend-rules,” enables prosecutors to freely engage in prohibited conduct, and

imposes an unacceptable cost on defendants. Id. at 83 (Marshall, J., dissenting).

       “Particularized need” is the appropriate standard to gain access to grand jury materials

pursuant to Rule 6(e)(3)(E)(ii), “conclusory or speculative allegations of misconduct” are

insufficient; a factual basis is required. UNITED STATES V. SITZMANN, 74 F.Supp.3d 128,

138 (D.D.C. 2014)

       Prosecutions alleging conspiracies carry the “inevitable risk of wrongful attribution of

responsibility to one or more of the multiple defendants.” DENNIS, 384 U.S. at 873. Under

these circumstances, it is imperative the defense, the judge, and the jury be assured “the doors

that may lead to truth have been unlocked.” Id.

                  In our adversarial system rarely is the prosecution justified in



                                                  8
      Case 1:22-cr-00015-APM          Document 47-1         Filed 02/13/22     Page 9 of 32




                  having “exclusive access to a storehouse of relevant fact”
                  and exceptions to this notion must be justified by the
                  “clearest and most compelling of considerations.”

Id. at 873-874.

       Determining usefulness can only be made by an advocate for the defense. DENNIS at

875. The trial judge’s function is limited to determining if a case for production has been

successful and supervising the process. Id.

       Therefore, the Court found it could not rely on the assumption that inconsistencies would

have been overlooked had the grand jury testimony been examined.

       The Court may disclose a grand jury matter “preliminarily to or in connection with a

judicial proceeding,” Fed. R. Crim. P. 6(e)(3)(E)(i), or “at the request of a defendant who shows

that a ground may exist to dismiss the indictment because of a matter that occurred before the

grand jury,” Fed. R. Crim. P. 6(e)(3)(E)(ii).

       A strong showing of a “particularized need” is required before grand jury materials

“preliminarily to or in connection with a judicial proceeding” may be disclosed by the court.

UNITED STATES V. SELLS ENGINEERING, INC., 463 U.S. 418, 442-443 (1983). A

particularized need requires that the requested material be needed to avoid possible injustice, the

need for disclosure exceeds the need for secrecy, and the request is limited to the material

directly pertinent to the needed disclosure. Id. at 443. Disclosure is only appropriate when the

need for it exceeds the public interest in secrecy, and the burden rests with the party seeking

disclosure. Id.

       From its inception in the United States, the grand jury has been regarded as security to

the accused against oppressive prosecution and as protector of the community against public



                                                 9
     Case 1:22-cr-00015-APM           Document 47-1        Filed 02/13/22      Page 10 of 32




malfeasance and corruption.

        The grand jury serves to determine if there is probable cause a crime was committed and

to protect citizens from unfounded criminal prosecutions. UNITED STATES V.

COACHMAN, 752 F.2d 685, 689-690 (D.C. Cir. 1985).

        Historically, it has been viewed “as a primary security to the innocent against hasty,

malicious and oppressive prosecution[.]” WOOD V. GEORGIA, 370 U.S. 375, 390 (1962).

        Standing between the accuser and the accused, it is invaluable for determining whether a

charge is based on reason “or was dictated by an intimidating power or by malice and personal ill

will.” Id.

      Where the indictment mechanism is employed, it must be through a grand jury which is

unbiased. A tendency to prejudice may be presumed when, in presenting cases to the grand jury,

the trial court finds that the prosecutor or his deputies have engaged in words or conduct that will

invade the province of the grand jury or tend to induce actions other than that which the jurors in

their uninfluenced judgment deems warranted on the evidence fairly presented before them. See

e.g. UNITED STATES V. WELLS, 163 F. 313 (D. Idaho 1908), where the motion to dismiss

the indictment was supported by affidavits of grand jurors alleging that the prosecutor made

statements to the grand jury about the strength of his case against the defendant, the court

dismissed the indictment, holding that when the prosecutor not only expresses his opinion but

urges the finding of an indictment and it is clearly shown that the grand jurors must necessarily

have been influenced, then prejudice will be presumed.

        The court in supporting that decision stated (emphasis added):

               “[T]o sustain such an indictment would be to establish a precedent to



                                                10
     Case 1:22-cr-00015-APM           Document 47-1         Filed 02/13/22      Page 11 of 32




               which political partisanship, religious intolerance for the latter is quite
               apt to exist as the former could point as a justification for upholding
               the return of an indictment through popular demand, public
               excitement, persecution, or personal ill will.”

Id. at 327.

       In the instant case, the disclosure of the requested grand jury material clearly outweighs

the need for secrecy. Kelly Meggs is charged with crimes which, if he is convicted, carries a

sentence of up to twenty years' incarceration for each of two counts. He was indicted in a highly

charged, politicized atmosphere where error, speculation, and misinformation was broadcast

nightly on the news and on-line social media.

      Closely associated with the federal rule are several U.S. Supreme Court decisions which

hold that a defendant has a right to the testimony of witnesses appearing before a federal grand

jury when he can show a particular need for this testimony. See, UNITED STATES V.

DENNIS, 384 U.S. 855 (1966); UNITED STATES V. PROCTOR & GAMBLE, 356 U.S.

677 (1958).

       Similarly, the United States Supreme Court's holding in UNITED STATES V.

MECHANIK, 475 U.S. 66 (1986), and its progeny, have firmly established that any claim for

abuse or defect of the grand jury must be remedied prior to trial because in MECHANIK, the

Supreme Court held that a verdict of guilty insulates such a claim from appellate review by

finding such error harmless.

       In other words, these issues cannot be procrastinated nor cured at trial.

       Therefore, it is essential that Kelly Meggs be provided disclosure of the specific grand

jury material requested in order that he be given a realistic opportunity to file a motion to dismiss




                                                 11
       Case 1:22-cr-00015-APM         Document 47-1       Filed 02/13/22      Page 12 of 32




the indictment based upon any abuse or defect of the grand jury proceeding he may uncover.

       Rule 6(e) of the Federal Rules of Criminal Procedure allows virtually anyone associated

with the grand jury to give testimony about what happened at the proceedings upon a showing

that grounds may exist for a motion to dismiss the indictment because of matters occurring

before the grand jury.


III.    SPECIFIC DEMANDS FOR DOCUMENTS AND CIRCUMSTANCES

        Please note that while this might seem like a burdensome project, in fact the presentations

have already been submitted to the various, multiple sessions of the Grand Jury – which have

already occurred – should simply be filed and stored in an expanding file in the file cabinet and

should be easy to just pull out from the file room.


                A.       SPECIFIC REQUESTS FOR DOCUMENTS
        The Accused respectfully demands the following notes, minutes, transcripts, recordings,

and/or exhibits occurring before any session of the Grand Jury in connection with this case or the

previous case USA v. Thomas Caldwell, Case 1:21-cr-00028.

           1.   Any and all opening remarks to the Grand Jury, including for each session upon

                which the Grand Jury was reconvened.

           2.   Any and all explanations about the case to the Grand Jury.

           3.   Any and all argument made to the Grand Jury.

           4.   Any and all instructions given to the Grand Jury.

           5.   Any and all opinions expressed to the Grand Jury other than by sworn witnesses,

                including any extraneous persons present in the room.




                                                12
Case 1:22-cr-00015-APM           Document 47-1      Filed 02/13/22        Page 13 of 32




    6.   The transcripts, and if none were made, then the substance of the testimony of

         each witness who appeared before any session of the Grand Jury.

    7.   All minutes and notes of all proceedings before each session of the Grand Jury.

    8.   Any and all questions asked by any member of the Grand Jury.

    9.   A list and copy and description of all exhibits, tangible evidence, and physical

         objects presented to or to which reference was made by witness appearing before

         said Grand Jury.

    10. A copy of any and all exhibits presented to the Grand Jury.

    11. A copy of any and all exhibits presented to which reference was made by witness

         appearing before the Grand Jury.

    12. The names, addresses, including but not limited to, street address and building,

         apartment, room or like number of all persons present in the room or appearing

         before the Grand Jury in any capacity other than as a witness.

    13. The identity of each Grand Juror who is, was, or has been, connected with any

         state or federal law enforcement agency.

    14. A verbatim copy of the charge given by the Court to the Grand Jurors upon their

         being initially convened, and at the time they were reconvened for this case each

         time, or at any time prior thereto.

    15. Any explanation to the Grand Jury as to why an additional session related to this

         case or its prior incarnation was being convened and/or necessary.

    16. A verbatim copy of the charge given by the Court to the Grand Jurors upon their

         being initially convened, and at the time they were reconvened for this case, or at



                                               13
     Case 1:22-cr-00015-APM             Document 47-1    Filed 02/13/22      Page 14 of 32




              any time prior thereto.


               B.     SPECIFIC REQUESTS FOR CIRCUMSTANCES
       The Accused respectfully demands the following notes, minutes, transcripts, recordings,

and/or exhibits occurring before any session of the Grand Jury in connection with this case or the

previous case USA v. Thomas Caldwell, Case 1:21-cr-00028.

     1. The number of witnesses presented to the Grand Jury by the Government, in each

  session in which it met.

     2. The number of witnesses requested by the Grand Jury or by any of its members.

     3. The number of witnesses actually summoned upon request of the Grand Jury or any of

  its members.

     4. The number of Grand Jurors requesting witnesses in addition to those originally

  presented by the Government.

     5. The number of Grand Jurors concurring in each count of the Indictment, including for

  each superseding indictment, separately.

     6. Whether any counts of the Indictment were not presented to, or were not voted upon, by

  the entire Grand Jury.

     7. The length of time the Grand Jury spent hearing evidence in this case, in each session in

  which it met.

     8. The identity of any agents appointed by or to the Grand Jury and by whom, at whose

  request and under what authority such appointment was made, as well as what disclosures

  were made to such persons and by what authority and procedure.

     9. The length of time spent deliberating on the case.



                                                14
      Case 1:22-cr-00015-APM         Document 47-1       Filed 02/13/22      Page 15 of 32




      10. The names and addresses as to where each witness could be served with a subpoena to

  testify at trial, including but not limited to, street address and building, apartment, room or

  like number, of each witness appearing before the Grand Jury.

      11. Whether any Grand Juror was absent during any portion of the Grand Jury proceedings

  including voting upon any Count of the indictment.

      13. The names, addresses, including but not limited to, street address and building,

  apartment, room or like number of all persons appearing before the Grand Jury in any

  capacity other than as a witness or prosecutor.

      14. The identity of each Grand Juror who is, or was, connected with any state or federal

  law enforcement agency.


IV.    ARGUMENTS: SPECIFIC NEEDS FOR GRAND JURY INFORMATION

       Although the Defendant does not limit his reasons or requests to the specifically-

identified, proven falsehoods presented by the Government to the Grand Jury, the Government

has had to begrudgingly admit that the allegations of the many versions of the indictments are

false and the Government knew the allegations to be false when asking the Grand Jury to issue

new superseding indictments. The case is subject to immediate dismissal.

       The question is: How did false information make its way before the Grand Jury?


       A.      JUDGE MCFADDEN RULES GRAND JURY MISLED BY
               PROSECUTORS

       The Honorable Judge Trevor N. McFadden of this Court ruled that the Grand Jury was

misled by the U.S. Attorney’s Office for the District of Columbia, in United States of America v.




                                               15
     Case 1:22-cr-00015-APM         Document 47-1        Filed 02/13/22      Page 16 of 32




Nicholas Rodean, U.S. District Court for the District of Columbia, Criminal Case No. 1:21-cr-

00057-TNM, on February 10, 2022, ECF Dkt. # 36. See attached.

       Judge McFadden of this Court explained in his order denying in Rodean the

Government’s motion for an order in limine:

            But the Government has a problem. The superseding indictment says that
           then Vice President-elect Harris was at the Capitol when Rodean entered it.
           See Superseding Indictment at 2–3, ECF No. 12 (Counts Three, Four, and
           Five). She was not. News outlets reported this mere days after January 6.
           1 And recognizing that fact, the Government has, in other cases, filed a
           superseding indictment to correct its error.

           For example, in United States v. Secor, 21-cr-00157-TNM, Count Four of
           the indictment charged Secor with violating 18 U.S.C. § 1752(a)(1). See
           Secor, ECF No. 7 at 3. The indictment stated that the “Vice President and
           Vice President-elect were temporarily visiting” the Capitol when Secor
           broke in. See id. The superseding indictment changed Count Four to state
           that only the Vice President was visiting the Capitol during the riots. See
           Secor, Superseding Indictment at 3, ECF No. 28; see also United States v.
           Matthew Council, 21-cr-00207-TNM, Indictment at 2–3, ECF No. 11
           (referencing the Vice President-elect in Counts Three and Four),
           Superseding Indictment at 2–3, ECF No. 35 (referencing only the Vice
           President in Counts Three and Four). Yet here, over a year after first
           charging Rodean under § 1752(a) and nearly a year after misleading the
           grand jury about the whereabouts of the Vice President-elect, the
           Government has still not explained or remedied its mistake. The
           Government compounds this error by repeatedly referring to the presence of
           the Vice President-elect in the Capitol in its motion in limine. See Motion at
           1 and 5.

           This all suggests a certain lack of attention and care in the prosecution of
           this case, undermining any confidence the Court can have in the
           Government’s representations. Because of the misleading charges the
           Government has brought against Rodean, the Court will not allow Secret
           Service witnesses to testify generally about the presence of protected
           individuals. Section 1752(a) requires the presence of an individual under
           Secret Service protection. If the Government wishes to continue to pursue
           this misdemeanor charge, it must be prepared to fully prove it.


       Here, the Seventh Superseding Indictment for United States of America v. Crowl, et al,


                                               16
     Case 1:22-cr-00015-APM           Document 47-1        Filed 02/13/22      Page 17 of 32




also includes as Count V allegations of a violation of 18 U.S.C. 1752(a)(1) “Entering and

Remaining in a Restricted Building or Grounds,” just like USA v. Rodean.

       Curiously, the Seventh Superseding Indictment in USA v Stewart. Rhodes, et al. deletes

the Count IV under 18 U.S.C. 1752(a)(1) “Entering and Remaining in a Restricted Building or

Grounds” from the Sixth Superseding Indictment from USA v. Thomas Caldwell, et al.

       Nevertheless, the current Seventh Superseding Indictment builds upon the testimony

presented to the Grand Jury for the original indictment, the First Superseding Indictment, the

Second Superseding Indictment, the Third Superseding Indictment, the Fourth Superseding

Indictment, the Fifth Superseding Indictment, and the Sixth Superseding Indictment.

       The Fifth Superseding Indictment in paragraph 183 alleged the same false allegation as in

USA v. Rodean, that the Defendants

               “did knowingly enter and remain in a restricted building and grounds,
               that is, any posted, cordoned-off, or otherwise restricted area within
               the United States Capitol and its grounds, where the Vice President
               and Vice President-elect were temporarily visiting, without lawful
               authority to do so.”

       Therefore, the USAO presented false information to the Grand Jury here in this case just

as Judge McFadden found it did in USA v. Rodean.

       The current indictment depends upon and builds upon the testimony and evidence before

the Grand Jury from the previous superseding indictments, and the facts alleged were not again

re-presented to the Grand Jury, the false information presented to the Grand Jury raises concerns.

       Defendant Kelly Meggs is entitled to inspect the Grand Jury minutes, notes, exhibits,

arguments from the prosecution, and full testimony of all witnesses in light of these irregularities

and questions about the accuracy and credibility of the USAO’s presentations to the Grand Jury.



                                                17
     Case 1:22-cr-00015-APM          Document 47-1        Filed 02/13/22       Page 18 of 32




       B.      PROSECUTION ACTIVELY MISLED GRAND JURY ON
               OATH KEEPERS’ PURPOSE OF PROVIDING

       On May 26, 2021, an FBI Special Agent once again testified before the Grand Jury in the

presence of several Assistant U.S. Attorneys working on this case here.

       As transcribed on pages 37 through 41, an alert member of the Grand Jury asked the FBI

Special Agent witness what “PSD” stands for in the exhibits presented. The FBI Special Agent

witness explained that PSD stands for Personal Security Detail. When the Grand Juror asked

what that means, the FBI Special Agent witness explained that that the Oath Keepers were

protecting a VIP. When the Grand Juror asked who was the VIP, the FBI Special Agent witness

explained that there were multiple VIPs that the Oath Keepers protected throughout the day.

       Thereupon, the lead Assistant U.S. Attorney intervened by questioning the FBI Special

Agent witness so as to redefine the Grand Juror’s question. The witness then gave the false

impression that the Oath Keepers were only protecting one another.

       This goes to the very heart of the charged Counts of Seditious Conspiracy (Count I),

Conspiracy (Count II) and obstruction of an official proceeding (Count III).

       The Government’s actual knowledge that the Oath Keepers did not come to Washington,

D.C. to interfere with the January 6 quadrennial Joint Session of Congress for the hearing and

resolution of disputes about the votes from each State and territory in the Electoral College, nor

to attack anyone, directly defeats the counts alleged against Kelly Meggs and requires the

dismissal of the case due to USAO’s misconduct.

       Counts I, II, and III of the Seventh Superseding Indictment must now be dismissed.

       Due to the testimony of “Person One” and “Person Ten” to the FBI, the AUSAs present

had actual knowledge that this impression was false. The USAO had actual knowledge that the


                                                18
     Case 1:22-cr-00015-APM            Document 47-1         Filed 02/13/22   Page 19 of 32




Oath Keepers’ Protective Security Detail volunteer services were protecting speakers at various

permitted, lawful and peaceful rallies and other VIPs – NOT protecting each other.

        The FBI Special Agent witness misled the Grand Jury by testifying that the Oath Keepers

were protecting VIP’s “within the Oath Keepers’ orbit,” leading the Grand Jury to falsely believe

and conclude that the Oath Keepers were protecting each other, rather than coming to

Washington, D.C. for the purpose of providing security for the permitted and peaceful rallies for

speakers at the rallies and/or VIPs attending the rallies.

        This is the difference between guilt or innocence, acquittal or conviction.

        And, again, the Grand Jury was actually actively challenging the purpose for why the

Oath Keepers came to D.C. on January 5-6, 2021. The Grand Jury was assertively questioning

what the Oath Keepers were doing in Washington, D.C.

        And faced with the Grand Jury’s attempt to discover what the Oath Keepers’ actual plans

in D.C. were, the USAO actively sought to deceive and mislead the Grand Jury.

        Defendant Kelly Meggs is entitled to inspect the Grand Jury minutes, notes, exhibits,

arguments from the prosecution, and full testimony of all witnesses in light of these

irregularities, to establish the fraudulent nature of the accusations against Kelly Meggs and

others at and during the trial, or to dismiss the case before trial.


        C.      PROSECUTION ACTIVELY MISLED GRAND JURY ON PSD
                BACK STAGE PASSES
        As the U.S. Attorney’s Office for the District of Columbia and relevant FBI officials and

agents know very well by now, and have known for 9 to 10 months, the Defendants Oath

Keepers planned a trip to the District of Columbia for the purpose of providing logistical support,




                                                   19
     Case 1:22-cr-00015-APM           Document 47-1        Filed 02/13/22      Page 20 of 32




PSD (Protective Security Detail), support services, and first-aid for 100% peaceful, 100% legal,

permitted rallies at the Ellipse area. A permit was issued for the Ellipse rally by the U.S. Park

Police. And to provide such services later in the day at Lot 8 of the U.S. Capitol Grounds where

a permit was issued by the U.S. Capitol Police.

       The FBI seized from Kelly Meggs and most other, probably all, Oath Keepers who were

in Washington, D.C., on or about January 5-6, 2021, the back-stage passes issued to them by the

rally organizers of the private rally at the Ellipse area near the South lawn of the White House.

       On March 17, 2021, the FBI Special Agent witness inadvertently confirmed all of the

above and inadvertently confirmed the fraud of the instant criminal prosecution, in testimony

before the Grand Jury.

       On page 3, lines 3 through 23, of the FBI Special Agent witness’s Grand Jury testimony

transcript, upon the questioning of the AUSA, the FBI Special Agent witness testified that Oath

Keepers Defendant Kelly Meggs and Robert Minuta arranged a Protective Security Detail to

protect a person shown to the Grand Jury in a photograph.

       On page 3, lines 24 through page 5 line 5, of the transcript of the FBI Special Agent

witness’s testimony before the Grand Jury on March 27, 2021, the AUSA refers to the backstage

pass for the rally at the Ellipse which Edwards refers to as a “placard” around Oath Keeper

Minuta’s neck.

       This testimony was in response to a direct, explicit question from the Grand Jury.

       The Grand Jury was actively involved in seeking clarification, yet the FBI witness and

USAO actively deceived the Grand Jury. The transcript is being filed under seal.

       The USAO would have been content to conceal the truth from the Grand Jury, had a



                                                  20
     Case 1:22-cr-00015-APM           Document 47-1         Filed 02/13/22      Page 21 of 32




member of the Grand Jury not been alert enough to inquire what the pass or placard was.

        Upon the AUSA’s questioning, the FBI Special Agent witness then describes the FBI’s

investigation of the VIP pass to the rally at the Ellipse by asking if the backstage rally pass for a

private rally would be accepted by three different government agencies as government-issued

identification.

        Thus, the Government knew that the Grand Jury was seeking to understand. Yet instead

of admitting that the pass or “placard” is hard proof that the Oath Keepers came to District of

Columbia to provide Protective Security Details not to storm the Capitol, The FBI Special Agent

witness sought to confuse the Grand Jury by talking about whether the passes would be

acceptable to government agencies government ID’s. The rally organizers had issued backstage

passes for the Oath Keepers logistical support and Protective Security Detail services, which the

grand jury wanted to know about and was trying to find out about. Answering the Grand

Jury’s questions by misdirecting the Grand Jury was an intentional deception by the USAO.


        D.        LATEST INDICTMENT DOES NOT ALLEGE OBSTRUCTION
                  OF OFFICIAL PROCEEDING

        Curiously, the Seventh Superseding Indictment in the new group in USA v. Stewart

Rhodes, split from USA v. Thomas Caldwell, no longer contains any allegation that any of these

Defendants ever obstructed, delayed, stopped, or interfered with any official proceeding.

        The latest indictment still contains a charge under Count IV of violating 18 U.S.C.

1512(c)(2) or aiding and abetting the same under 18 U.S.C. 2 of obstruction of an official

proceeding. Yet there is no allegation that any official proceeding was ever obstructed, delayed,

stopped, or hindered. (There was in prior indictments, but not the current one, unless counsel is



                                                 21
     Case 1:22-cr-00015-APM          Document 47-1        Filed 02/13/22     Page 22 of 32




somehow experiencing a mental block after re-reading the indictment carefully four times.)

       How the Grand Jury managed to indict Kelly Meggs of obstructing an official proceeding

without alleging any official proceeding that was ever obstructed is curious enough to require a

close examination of the proceedings before the Grand Jury held between October 10, 2021

through January 12, 2022.


       E.      INDICTMENTS FALSE ABOUT COLUMBUS DOORS


       Various versions of the indictment falsely allege that the Defendants here violently

shoved police officers aside and broke into the “Columbus Doors” (also called the “Rotunda

Doors”) at the landing on the top of the broad main staircase in the center on the East (Supreme

Court / Library of Congress) side of the U.S. Capitol Police.

       Two U.S. Capitol Police officers during the tour of the Capitol on January 22, 2022,

sponsored by the U.S. Attorney’s Office for defense counsel, confirmed to counsel for Kelly

Meggs face to face that the 20,000 pound, solid bronze, 17-feet high, Columbus Doors cannot be

opened from the outside. (The photograph posted on the website of the Architect of the Capitol

shows that the Columbus doors do not even have door handles on the outside.)

       On August 25, 2021, the FBI interviewed an official of the U.S. Capitol Police who also

told the FBI that (a) the Columbus Doors were in fact closed and locked on January 6, 2021, and

(b) the Columbus Doors cannot be opened from the outside.

       So the allegations of the Seventh Superseding Indictment issued on January 12, 2022,

were known by the Government to be false as of August 25, 2021.

       How did the Grand Jury issue allegations that are clearly false? Where did the Grand



                                                22
     Case 1:22-cr-00015-APM          Document 47-1        Filed 02/13/22      Page 23 of 32




Jury come up with these ideas?


       F.      INDICTMENTS FALSE ABOUT COUNT V – “DEPREDATION”


       The Grand Jury provides a meticulous time-line, step by step of when these Defendants

allegedly did various things. The quadrennial Joint Session of Congress on January 6, 2021,

recessed at 2:18 PM according to the Congressional Record.1

       According to the Grand Jury, Kelly Meggs arrived at the U.S. Capitol building (as

opposed to the grounds) around 2:32 PM EST 2 on January 6, 2021, at the bottom of the broad

center East side stairs and walked up the East-side, central stairs 3 starting at around 2:35 PM, 4

and reached the landing at the top of the stairs at around 2:39 PM. 5 The doors opened (from the

inside) at 2:40 PM 6 and Kelly Meggs allegedly entered through the open doors. (Note that this

is confirmed by a video obtained from the French government of raw (that is, continuous for 2 ½

hours) video of a television journalist from French TV.

       But in COUNT V the latest Seventh Superseding Indictment alleges that Defendant Kelly




1
        The court may take judicial notice that the House was recessed by the presiding officer at
2:18 PM, pursuant to standing Rule I, Clause 12(b) (allowing for immediate recess without a
vote upon notice of a threat). Congressional Record House Articles | Congress.gov | Library
of Congress, Counting Electoral Votes--Joint Session Of The House And Senate Held Pursuant
To The Provisions Of Senate Concurrent Resolution 1; Congressional Record Vol. 167, No. 4
(House of Representatives - January 06, 2021)
https://www.congress.gov/congressional-record/2021/01/06/house-section/article/H76-4
2
        Seventh Superseding Indictment, ¶ 91
3
        The USAO and the Grand Jury seem to have some weird fixation with stacks of pan-
cakes, and keep referring to a nonsensical crazy idea of a stack.
4
        Seventh Superseding Indictment, ¶ 95.
5
        Seventh Superseding Indictment, ¶ 97 (about 1 minute after 2:39 PM).
6
        Seventh Superseding Indictment, ¶ 97 (about 1 minute after 2:39 PM).


                                                23
     Case 1:22-cr-00015-APM          Document 47-1       Filed 02/13/22      Page 24 of 32




Meggs either committed “depradation” 7 of Property of the United States in violation 18 U.S.C.

1361 or aided and abetted others such depradation in violation of 18 U.S.C. 2.

       However, in the indictment of HUNTER EHMKE issued on January 27, 2021, the same

U.S. Attorney’s Office for the District of Columbia induced the same Grand Jury to indict

HUNTER EHMKE for causing that same damage to federal property at 2:15 PM at the top of

the center East-side stairs near the Columbus Doors. See, United States of America v. Hunter

Ehmke, Case No. 1:21-cr-00029-TSC-1., ECF Dkt. # 6, attached.

       Not only does the USAO charge HUNTER EHMKE with committing the depredation

that Kelly Meggs is charged with committing at 2:40 PM, but the USAO alleges that this

happened at 2:15 PM. United States of America v. Hunter Ehmke, Case No. 1:21-cr-00029-

TSC-1., ECF Dkt. # 11.

       How many people are charged with breaking the same window?

       Kelly Meggs could not have aided and abetted any one at 2:39 PM to depredate the

window or anything in that area which occurred at 2:15 PM when he was not yet in the vicinity.

       Not unless Kelly Meggs owns a time machine we don’t know about.

       So what was the Grand Jury told to induce it to indict Kelly Meggs? The documents

would show that Kelly Meggs is innocent of the charges against him.




7
       Curiously, “depradation” is not defined in the statute. Various dictionary definitions of
“depradation[s]” are inconsistent and mostly unrelated to what is alleged here. The few federal
precedents referencing “depradation” are mostly inconsistent with the allegations here.
Understanding what the Grand Jury was told to induce it to charge Kelly Meggs with
“depradation” is more serious by uncertainty over what “depradation” actually means.


                                               24
     Case 1:22-cr-00015-APM           Document 47-1        Filed 02/13/22     Page 25 of 32




       G.      INDICTMENTS FALSE AS TO MISREPRESENTED
               STATEMENTS TO ONE ANOTHER

       Upon counsel’s investigation and on information and belief, it will be exculpatory to see

the actual statements that the Grand Jury relied upon, in full context.

       The Seventh Superseding Indictment consists almost entirely in substance and about half

in page length of the Oath Keepers talking to each other. The Grand Jury falsely portrays

statements among the Oath Keepers that in some cases have nothing to do with the January 6,

2021, events in Washington, D.C., specifically relate to events in other parts of the country

and/or on other dates, are clearly observations lamenting the state of the country – not plans by

the Oath Keepers to do anything – describe what other people are doing, not the Oath Keepers,

and/or are severely misrepresented.

       It will be exculpatory for the Government to produce any and all exhibits that were

submitted to the Grand Jury embodying these statements.

       H.      INDICTMENTS FALSE ABOUT KELLY MEGGS DISRUPTING
               CONGRESSIONAL JOINT SESSION

       All of the versions of the indictments allege that Congress was recessed and evacuated at

2:20 PM EST on January 6, 2021, which the Congressional Record says was at 2:18 PM EST.

       But the Grand Jury also alleges that Kelly Meggs arrived at the U.S. Capitol building at

2:32 PM EST, 8 at the bottom of the broad center East-side stairs and started walking up the

East, central stairs at 2:35 PM, 9 and reached the landing at the top at 2:39 PM. 10 The doors



8
       Seventh Superseding Indictment, ¶ 91
9
       Seventh Superseding Indictment, ¶ 95.
10
       Seventh Superseding Indictment, ¶ 97.


                                                 25
     Case 1:22-cr-00015-APM           Document 47-1           Filed 02/13/22   Page 26 of 32




opened from the inside at 2:40 PM 11 and Meggs allegedly entered through the open doors.

       How was the Grand Jury induced to indict Kelly Meggs for obstructing or delaying an

official proceeding before he got there? Again, this is based on the Grand Jury’s allegations.

       I.      INDICTMENTS FALSE ABOUT INTENT OR CONSPIRACY
               TO OBSTRUCT JOINT SESSION OF CONGRESS

       “PERSON TEN’s” FBI interviews in May 2021 informed the Government that there

never was any conspiracy, any plan, or any intention to obstruct any official proceeding, or go to

the Capitol, or attack the Capitol or anything of the sort.

       How could the Grand Jury repeatedly issue several superseding indictments alleging what

the Government knew to be false at least as early as May 2021 if not March 2021?

       The FBI interview for 3 hours with Stewart Rhodes on May 7, 2021, confirmed to the

FBI that: (a) PERSON TEN was in charge of everything that happened on the ground in and

around Washington, D.C., on or about January 5-6, 2021 [and therefore his testimony is

authoritative]. (b) Everything PERSON TEN told the FBI is accurate. (c) There was no plan or

conspiracy to obstruct, stop or delay the January 6 Joint Session of Congress. (d) As stated

under penalty of perjury by PERSON TEN to the FBI in May 2021, the OATH KEEPERS came

to Washington, D.C. to assist with security, escorting VIPs and speakers through the crowds and

to the stage, protect against attacks from Left-wing counter-demonstrators, and be prepared to

provide first aid, for the 100% peaceful and 100% legal rally at the Ellipse area and.

       Therefore, it would be Brady material exculpatory at trial to rebut unfounded argument

and cross-examine witnesses who engaged in and furthered rampant speculation for the


11
       Seventh Superseding Indictment, ¶ 97 (about 1 minute after 2:39 PM).


                                                 26
       Case 1:22-cr-00015-APM          Document 47-1        Filed 02/13/22     Page 27 of 32




Defendant to receive documentation presented to the Grand Jury to show that Kelly Meggs never

had the intent claimed.

         J.      CONFUSION AMONG DEFENDANTS AND OTHERS IN
                 OMNIBUS INDICTMENTS

         Similarly, the omnibus nature of the indictment, alleging what others did, unknown

people did, the crowd did, what someone posted or messaged, etc. clearly misleads and confuses

the Grand Jury into indicting Kelly Meggs for things that Kelly Meggs had nothing to do with.

Defendant demands information on what the Grand Jury was told specifically about him or

utterly confusing what other people did as being done by Kelly Meggs.

         K.      GUILT BY GROUP MEMBERSHIP

         Did the Grand Jury indict Kelly Meggs and does Kelly Meggs stand accused merely for

belonging to a group? Clearly, yes.

         The USAO has admitted (outside of the indictments) that none of these Defendants ever

personally committed any violence, brawled with any police officers, or damaged any property.
12
     Rather they are alleged to have aided and abetted others.

         Punishing or criminalizing merely belonging to an organization has long ago joined the

ranks of contemptible practices no longer tolerated in a modern, decent society.

DOMBROWSKI V. H PFISTER, 380 U.S. 479, 85 S.Ct. 1116, 14 L.Ed.2d 22 (1965) tackled

these issues from the standpoint of vagueness, but illustrates the concerns.

        The landmark case of NAACP V. ALABAMA, 357 U.S. 449 (1958) of course came to


12
        The Grand Jury alleges that Kenneth Harrelson brushed past or lightly touched an officer
on the way in, when that is not what the videos show. He apparently lightly patted out of respect
a police officer on his way out of the building.


                                                 27
     Case 1:22-cr-00015-APM         Document 47-1        Filed 02/13/22     Page 28 of 32




this question from the angle of a demand for the National Association for the Advancement of

Colored People (NAACP) to disclose its membership lists. However, the interest being invaded

by these demands was that mere membership in a group was being used to punish members

and/or presume them to be guilty purely from membership alone. People who belonged to the

NAACP but had committed no other “wrong” would be prejudiced.

       L.      EVACUATION OF JOINT SESSION OF CONGRESS CAUSED
               BY DISCOVERY OF PIPE BOMBS AND DECIDED LONG
               BEFORE KELLY MEGGS ARRIVED AT THE U.S. CAPITOL

       Similarly, the Defendant demanded as Brady material all records from the U.S. Capitol

Police as to why the U.S. Capitol Police interrupted the Joint Session of Congress at 2:18 PM

(according to the Congressional Record, 2:20 PM according to previous indictments).

       What information presented to the Grand Jury – being clearly false – would justify

inducing the Grand Jury to indict Kelly Meggs for obstructing an official proceeding?

       Being a major step at any time, a threat assessment and decision-making process must

have been underway probably as early as 2:00 PM, maybe 1:00 PM. But Kelly Meggs did not

arrive at the Capitol until around 2:32 PM and walk calmly to the top of the center East stairway

until 2:39 PM. This is exculpatory evidence that Kelly Meggs neither did nor intended to nor

aided and abetting anyone in disrupting the Joint Session of Congress which recessed at 2:18 PM

to 2:20 PM.

       Furthermore, pipe bombs were discovered only a few blocks from the U.S. Capitol at

12:52 PM on January 6, 2021, which does not seem to excite the Government’s interest much.

The continuing search for any other pipe bombs was clearly a major reason or the only major




                                               28
     Case 1:22-cr-00015-APM           Document 47-1         Filed 02/13/22      Page 29 of 32




reason for the USCP to advise Congress to recess and evacuate their respective Chambers.

       So, what was the Grand Jury told to blame all of this on Kelly Meggs?

       M.      INDICTMENTS FALSE ABOUT TRAINING

       Similarly, in the attempt to allege action by the Defendants instead of Defendants just

saying extreme things to one another, the Grand Jury alleged that Kelly Meggs attended

“paramilitary” training and subpoenaed COMBAT ART TRAINING in Leesburg, Florida.

       That training company then made it clear that they don’t offer “paramilitary training,”

have never given any such training, and did not train these Defendants on it, and it is illegal to

provide such training under Florida law. Then the Seventh Superseding Indictment quietly

downplayed that allegation without admitting that the Government’s allegation was wrong.

Clearly the Government had failed to investigate the facts before making the allegation.

       So how did the Grand Jury find facts and make allegations of matters easily-checked-out

ahead of time by the FBI? How could the FBI or USAO assert as fact to the Grand Jury much

less at trial allegations that they could have easily determined to be false?

       Now, the Seventh Superseding Indictment alleges that the Defendants attended

“unconventional warfare” training sessions. On information and belief after investigation, a

session which may have had an invitation under a name like that was held warning the Oath

Keepers not to get tricked or set up by unconventional warfare being waged AGAINST THEM.

       Therefore, Kelly Meggs demands all information to support these allegations, because

Kelly Meggs is absolutely, completely certain that any such information will be exculpatory and

prove that the allegations against him are actually totally false. Kelly Meggs contends that the

actual documents and actual allegations claimed will show as evidence at trial precisely the



                                                 29
     Case 1:22-cr-00015-APM          Document 47-1        Filed 02/13/22      Page 30 of 32




opposite of what Kelly Meggs is accused of.


V.     CONCLUSION

       The Accused requests this Court to grant this Motion and such other relief as may be

deemed just. Defendant Kelly Meggs, demands to discover what was argued and stated to the

Grand Jury other than formal witnesses, including any instructions not to listen to the news or

disregard news reports and outside statements.       In support thereof, Defendant attaches his

detailed proposed order.

Dated: February 13, 2022              RESPECTFULLY SUBMITTED
                                      KELLY MEGGS, By Counsel




                                      USDCDC Bar No. VA005
                                      Virginia State Bar No. 41058
                                      Mailing address only:
                                      5765-F Burke Centre Parkway, PMB #337
                                      Burke, Virginia 22015
                                      Telephone: (703) 656-1230
                                      Contact@JonMoseley.com
                                      Moseley391@gmail.com




                                CERTIFICATE OF SERVICE

         I hereby certify that on February 13, 2022, I electronically filed the foregoing document
with the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic
filing to the following CM/ECF participants. From my review of the PACER / ECF docket rec-


                                                30
     Case 1:22-cr-00015-APM          Document 47-1        Filed 02/13/22     Page 31 of 32




ords for this case that the following attorneys will receive notice through the ECF system of the
U.S. District Court for the District of Columbia.

               Jeffrey S. Nestler
               U.S. ATTORNEY'S OFFICE
               555 Fourth Street NW
               Washington, DC 20530
               202-252-7277
               jeffrey.nestler@usdoj.gov

               Kathryn Leigh Rakoczy
               U.S. ATTORNEY'S OFFICE FOR THE DISTRICT OF COLUMBIA
               555 Fourth Street, NW
               Washington, DC 20530
               (202) 252-6928
               (202) 305-8537 (fax)
               kathryn.rakoczy@usdoj.gov

               Justin Todd Sher
               U.S. DEPARTMENT OF JUSTICE
               950 Pennsylvania Avenue NW
               Washington, DC 20530
               202-353-3909
               justin.sher@usdoj.gov

               Troy A. Edwards, Jr
               U.S. ATTORNEY'S OFFICE FOR THE DISTRICT OF COLUMBIA
               555 4th Street, NW
               Washington, DC 20001
               202-252-7081
               troy.edwards@usdoj.gov

               Alexandra Stalimene Hughes
               DOJ-Nsd
               950 Pennsylvania Ave NW
               Washington DC, DC 20004
               202-353-0023
               Alexandra.Hughes@usdoj.gov

               Louis J. Manzo
               DOJ-CRM
               1400 New York Ave NW
               Washington, DC 20002



                                                31
Case 1:22-cr-00015-APM       Document 47-1        Filed 02/13/22   Page 32 of 32




       202-616-2706
       louis.manzo@usdoj.gov

       Ahmed Muktadir Baset
       U.S. ATTORNEY'S OFFICE
       United States Attorney's Office for the District of Col
       555 Fourth Street, N.W., Room 4209
       Washington, DC 20530
       202-252-7097
       ahmed.baset@usdoj.gov




                                        32
